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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

T JASON NOYE,                                     :
individually and on behalf                        :
of all others similarly situated,                 :          No. 1:15-cv-2382
        Plaintiff                                 :
                                                  :          (Judge Kane)
                v.                                :
                                                  :
JOHNSON & JOHNSON, et al.,                        :
    Defendants                                    :

                                             ORDER

       AND NOW, on this 5th day of March 2020, in accordance with the Memorandum issued

concurrently with this Order, wherein the Court determined that Plaintiff T Jason Noye

(“Plaintiff”)’s claim against Defendant Johnson & Johnson Services, Inc. (“J&J”) falls within the

scope of the Arbitration Agreement at issue in this case, IT IS ORDERED THAT:

       1.       Plaintiff and J&J are compelled to arbitrate the remaining claim between them
                pursuant to the Arbitration Agreement;

       2.       The stay previously entered by the Court with respect to Plaintiff’s claims against
                Defendant Kelly Services, Inc. (Doc. No. 84 at 1) is LIFTED;

       3.       Plaintiff’s complaint (Doc. No. 1) is DISMISSED WITHOUT PREJUDICE;
                and

       4.       The Clerk of Court is directed to CLOSE the above-captioned case.


                                                      s/ Yvette Kane
                                                      Yvette Kane, District Judge
                                                      United States District Court
                                                      Middle District of Pennsylvania
